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				SUSPENSION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2017 OK 32Decided: 04/24/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 32, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

RE: Suspension of Credentials of Registered Courtroom Interpreters
ORDER
The Oklahoma Board of Examiners of Certified Courtroom Interpreters has recommended to the Supreme Court of the State of Oklahoma the suspension of the credential of each of the Oklahoma Registered Courtroom Interpreters listed on the attached Exhibit for failure to comply with the annual continuing education requirements for 2016 and certificate renewal requirements for 2017. 
Pursuant to 20 O.S., Chapter 23, App. II, Rule 20(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date. Pursuant to 20 O.S., Chapter 20, App. 1, Rule 23(d), failure to satisfy the continuing education reporting requirements on or before February 15 shall result in administrative suspension on that date. 
IT IS THEREFORE ORDERED that the credential of each of the interpreters named on the attached Exhibit is hereby suspended effective February 15, 2017.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 24th day of APRIL, 2017. 
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.

Exhibit
Sergio Torres




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